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                        UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
SAMUEL PHILBRICK et al.,             )
            Plaintiffs,              )
                                     )
v.                                   )   Civil Action No. 1:19-CV-00773 (JEB)
                                     )
ALEX M. AZAR et al.,                 )
            Defendants.              )
____________________________________)


      THE NEW HAMPSHIRE DEPARTMENT OF HEALTH AND HUMAN SERVICES’
                  NOTICE OF LEGISLATION AND FINDINGS

         The New Hampshire Department of Health and Human Services hereby submits the

following Notice of Legislation and Findings:

         1.      On June 28, 2019, the New Hampshire Department of Health and Human

Services filed its Reply Memorandum in Support of Its Partial Motion for Summary Judgment as

to Count II of the Plaintiffs’ Complaint. ECF No. 37. In the Reply, the New Hampshire

Department of Health and Human Services notified the Court that “[a] new bill, Senate Bill 290

(2019), which modifies the Granite Advantage program, ha[d] been adopted by the New

Hampshire House and Senate and [wa]s being enrolled for presentation to the Governor . . . .”

ECF No. 37 at 2 n.1. The New Hampshire Department of Health and Human Services stated

that, “should Senate Bill 290 become law, it will materially change the Granite Advantage

program as it currently exists and may require the Federal Defendants to re-examine the

approved waiver presently under review by this Court.” ECF No. 37 at 12. Accordingly, the

New Hampshire Department of Health and Human Services stated it would “notify the Court and

the parties in this matter promptly should Senate Bill 290 be signed into law by the Governor.”

Id.
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        2.       Consistent with its Reply Memorandum, the New Hampshire Department of

Health and Human Services hereby provides Notice to the Court and the parties that the

Governor signed SB 290 into law on July 8, 2019. A copy of the final version of SB 290 is

attached as Exhibit A.1

        3.       Additionally, in accordance with SB 290, the Commissioner of the New

Hampshire Department of Health and Human Services has exercised his authority under the new

statute to “temporarily waive the application of the community engagement requirement for the

beneficiaries of the Granite Advantage program for the period of June 1 to September 30, 2019 .

. . .” Exhibit B. The Commissioner’s letter cites the passage of SB 290 and additional notice

efforts related to the program as the basis for his decision. A copy of the Commissioner’s letter

is hereby attached as Exhibit B.



                                                            NEW HAMPSHIRE DEPARTMENT OF
                                                            HEALTH AND HUMAN SERVICES

                                                            By its attorney,

                                                            THE OFFICE OF THE NEW HAMPSHIRE
                                                            ATTORNEY GENERAL

Dated: July 10, 2019                                        /s/Lindsey B. Courtney
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 An electronic copy of the final bill can be accessed at:
http://gencourt.state.nh.us/bill_status/Results.aspx?q=1&txtbillnumber=sb290&txtsessionyear=2019.

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                                CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing was sent by ECF on July 10, 2019, to counsel
of record.

                                             /s/Lindsey B. Courtney
                                             Lindsey B. Courtney




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